    Case 3:07-cr-00121-ADC       Document 1044      Filed 02/13/08    Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO



 UNITED STATES OF AMERICA
      Plaintiff

        v.                                                Criminal No. 07-121 (ADC)

 HERIBERTO TORRES-MORALES [38],
      Defendant.



              ORDER ADOPTING REPORT AND RECOMMENDATION

      Before the Court is an unopposed Report and Recommendation issued by Magistrate-

Judge Bruce J. McGiverin on January 28, 2008. (Docket No. 854). In said Report and

Recommendation the Magistrate-Judge recommends that: defendant Heriberto Torres-

Morales be adjudged guilty of the offenses charged in Count I (21 U.S.C. §§ 841(a)(1), 846 and

860) inasmuch as, his plea of guilty was intelligently, knowingly and voluntarily entered.

      Neither party has filed objections to the Magistrate-Judge’s Report and

Recommendation within the time frame provided by the Federal Rules of Criminal Procedure

and this Court’s Local Rules. See Fed. R. Crim. P. 11; 28 U.S.C. § 636(b)(1)(B); D.P.R. Local

Crim. R. 147(b).

      After reviewing the record, the Court agrees with the arguments, factual and legal

conclusions within the Report and Recommendation. Therefore, the Court hereby APPROVES

and ADOPTS the Magistrate-Judge’s Report and Recommendation in its entirety.
    Case 3:07-cr-00121-ADC       Document 1044       Filed 02/13/08    Page 2 of 2



Criminal No. 07-121 (ADC)                                                            Page -2-


       Accordingly, a judgment of conviction is to be entered as to Count I of the indictment

in the above-captioned case.

       The sentencing hearing is set for April 29, 2008 at 3:30 p.m.

       IT IS SO ORDERED.

       At San Juan, Puerto Rico, this 13th day of February, 2008.



                                                S/AIDA M. DELGADO-COLON
                                                United States District Judge
